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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )     Criminal No. 6:13-cr-48-GFVT-HAI-2
                                                  )
 V.                                               )
                                                  )
 LORAN BELCHER,                                   )                    ORDER
                                                  )
        Defendant.                                )


                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 402] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant is charged with violating three

conditions of her supervised release: (1) unlawful use of a controlled substance; (2) not commit

another federal, state, or local crime; and (3) not communicate or interact with someone you

know is engaged in criminal activity. Id. at 2. Judgment was originally entered against the

Defendant on February 12, 2015, after Ms. Belcher pleaded guilty to conspiracy to manufacture

a mixture or substance containing a detectable amount of methamphetamine, in violation of 21

U.S.C. §§ 841(a)(1) & 846. Id. at 1. She was originally sentenced to forty-eight months of

imprisonment followed by a three-year term of supervised release. Id. Ms. Belcher began her

term of supervised release on February 8, 2017. Id.

       Ms. Belcher violated her supervised release the first time when she admitted to using

Suboxone after her urine tested positive for buprenorphine. Id. at 2. This violation resulted in a

requirement that she participate in mental health and substance abuse treatment. Id.
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       Ms. Belcher then had her supervised release revoked for: “failure to participate in

substance abuse treatment; associating with a convicted felon without permission; associating

with a convicted felon without permission; failure to report to the Probation Office as directed;

use of a controlled substance; and commission of a crime.” Id. For these violations, she was

sentenced to twelve months and one day of imprisonment followed by three-years of supervised

release. Id. Ms. Belcher was released on February 21, 2019, and began her second term of

supervised release. Id.

       On February 27, 2019, Ms. Belcher was charged with three violations. Id. The first two

violations have the same factual basis. Id.

       First, the Report complains that Ms. Belcher unlawfully used a controlled substance. Id.

at 2. As the basis for this violation, the Report alleges that the Defendant provided a urine sample

that tested positive for methamphetamine. Id. Ms. Belcher confessed to her probation officer

that she used methamphetamine. Id. This conduct would constitute a Grade B violation. Id.

       Second, the Report alleges that Ms. Belcher’s positive drug test and confession have

triggered a violation of his agreement “not [to] commit another federal, state or local crime.” Id.

Because of Ms. Belcher’s prior drug conviction, use is the same as possession. Therefore, her

confession and positive drug test would be a Class E Felony. Id. This conduct constitutes a Grade

B violation. Id.

       Finally, the Report charges her with violating the condition that: she “not communicate or

interact with someone you know is engaged in criminal activity. If you know someone has been

convicted of a felony, you must not knowingly communicate or interact with that person without

first getting permission of the probation officer.” Ms. Belcher admitted to doing

methamphetamine with Brian Smith, a convicted felon. Id. She never received permission from
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her probation officer to see him. Id. And Smith is the same person she was with for her previous

violations. Id. This is a Grade C violation.

       At the final revocation hearing, held on April 15, 2019, Belcher competently entered a

knowing, voluntary, and intelligent stipulation to all violations that had been charged by the

USPO in the Supervised Release Violation Report. [R. 397.] On April 30, 2019, Magistrate

Judge Ingram issued a Recommended Disposition which recommended revocation of Belcher’s

supervised release and a term of fourteen months of imprisonment with a three-year term of

supervised release. [R. 402 at 8.]

       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in coming to his

recommended sentence. Id. at 7. Ms. Belcher has violated the terms of her supervised release

three times. Id. at 6. What is more, she has violated quickly after release. Id. But her candor

with probation and desire to be better for her daughter increases the likelihood of rehabilitation.

Id. Ms. Belcher’s multiple violations means that the Court must impose a lengthy term of

incarceration to deter criminal conduct and protect the public from future crimes. Id.

       Ms. Belcher’s use of drugs is linked closely with the circumstances of his underlying

offense. Id. Her continued association with individuals who use of illegal substances puts her at

risk of making poor choices and additional criminal conduct. Id. She must remove herself from

that life and comply with her conditions of release. Id. at 8. Hopefully, the incentive of early

termination of her supervised release for complete compliance will be a strong incentive. Id.

       Finally, Belcher’s violation is a serious breach of the Court’s trust. Id. The Defendant

has violated the terms of her release on multiple occasions. Id.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of
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service. [Id. at 9.] See 28 U.S.C. § 636(b)(1). No objections have been filed, and Defendant

Belcher submitted a waiver of allocution. [R. 403.] Generally, this Court must make a de novo

determination of those portions of the Recommended Disposition to which objections are made.

28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this case, this Court is not

required to “review . . . a magistrate’s factual or legal conclusions, under a de novo or any other

standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a

magistrate judge’s report and recommendation are also barred from appealing a district court’s

order adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Nevertheless, this Court has examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition. Accordingly, and the Court being sufficiently advised, it is

hereby ORDERED as follows:

       1.      The Recommended Disposition [R. 402] as to Defendant Lorena Belcher is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Belcher is found to have violated the terms of her Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.      Belcher’s Supervised Release is REVOKED;

       4.      Ms. Belcher is SENTENCED to the Custody of the Bureau of Prisons for a term

of fourteen months of imprisonment;

       5.      A three-year term of supervised release under the same conditions originally

imposed in the prior revocation judgment [R. 360] along with the added condition that, after

eighteen months of strict post-release compliance, Defendant may petition the Court for early

termination of supervision; and
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        6.     The Defendant is recommended for placement at a BOP facility close to her

home.

        This the 13th day of May, 2019.




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